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Fil| in this information to identify your case:

Debtor 1 Thomas Shin

First Name Midd|e Name Last Naine

Debtor 2
(SpOuSe, if fillng) First Name Middle Name l.ast Name

 

United States Bankruptcy Court for thej Easlern District of NeW YOrk
(State)

Case number 17-76988

(lf known)

 

 

Officia| FOrm 427
Cover Sheet for Reaffirmation Agreement 12/15

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fi|l it out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

 

m Explain the Repayment Terms of the Reaffirmation Agreement

 

1. Who is the creditor? Bank of America, N.A.

 

Name of the creditor

 

2- H°W much is the debt? On the date that the bankruptcy case is tiled §15 477.41

To be paid under the reaffirmation agreement §15,483.12

§376.42 per month for 46 months (ifoed interest rate)

 

3. What is the Annual

 

Before the bankruptcy case was filed 4.49 %
Percentage Rate (APR)
of interest? (See
Bankruptcy Code Under the affirmation agreement 4,49 % Fixed rate
§ 524(k)(3)(E)-) n Adjustable rate
4. Does collateral secure
m No

the debt?
Yes. Describe the collateral. 2015 AUD| A4 #5715
Current market value §20 275.00

 

5. Does the creditor assert NO
that the debt is
non_dischargeab|e? n Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is non-dischargeable

6. Using information from income and expenses reported on Schedules l and J income and expenses stated on the reaffirmation agreement
Schedule I: Your Income

(Oft”icial Form 1061) and ,‘ .` v t ,
Schedu/e J_- Your 6a. Combined monthly income from $ d\ / éL d ' 00 6e. I\/lonthly income from all sources $ L/\/ 65 "; " ‘)
Expenses (Offjcia| Form line 12 of Schedule l after payroll deductions
106J), fill in the amounts.
Gb. l\/lonthly expenses from line 220 of_ $'H ?' Z (»' vi )/ Gf» Momhly expenses __ $ 711 3 ' 5 1 "13
Schedu|e J
69. i\/|onth|y payments on all ___ 0
6c. l\/lonth|y payments on all 0 $ ___
"' $ __ reaffirmed debts not included in
reaffirmed debts not listed on monthly expenses
Schedu|e J

», _ ,\

[3/) ij big \ 6h. Present net monthly income $ £3/}'> - oibe

6 .S h d | d h ' ` " _
d c e ue net mont lymcome $ Subtract lines iii and 69 from 6e.

Subtract lines 6b and 6c from 6a lime total is tes$ than 0’ put the

|f the total is less than 0, put the number in brackets
number in brackets.

 

 

 

Otiicia| Form 427 Cover Sheet for Reaffirmation Agreement page 1

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Thomas
First Narne

Debtor 1

Midd|e Name

Case number (i'f known} 1?-?6988

Shin
Last Narne

 

?. Are the income amounts
on lines 63 and 6e
different?

 

No
i:l Yes. Explain why they are different and complete line 10_

 

 

 

8. Are the expense
amounts on lines 6b
and 6f different?

 

944

El Yes_ Explain viihy they are different and complete line 10.

 

 

 

9. ls the net monthly
income in line 6|1 less
than 0?

se

es. A presumption of hardship arises (unless the creditor is a credit union}.
Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses
Complete line 10.

(°`“\ "‘\"""`"“"` § \9 “) i"""""}\:`,\ y\Mmi/y»),

 

 

10. Debtor's certification
about lines 7-9

li any answer on iines ?-9 is
Yes, the debtor must sign
here,

|fall the answers on lines ?-9
are No. go to line 11_

11_ Dld an attorney represent
the debtor iri negotiating
the reaffirmation
agreement?

 

l certify that each expianation on lines ?»9 is tn.ie and correct

xec’….-Yé\

Sigi'iature of Debtor 1

X

Signature of Dei‘itor 2 (Spouse Only in a .loint Case)

 

 

i;lo-

Yes. Has the attorney executed a declaration or an aflii:lavit to support the reafi`in'nation agreement?

 

Whoever fills out this form
must sign here.

 

  

l certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
parties identified on this Cover Sheet for Reafifrmatiori Agreement.

.-.__

 

;VL,A/ __/:'_/é Daie AZiJ/£/
EBQW ’ [ l MM iooi~rYYY

mM_//A Wtz“'

Prmt`e-d,Narne '

Check one:

§§ebym bebior‘s Aicomey
reditor or Creditor's Attorney

 

Oft`icia| Form 427

Cover Sheet for Reaffin'nation Agreement page 2

 

 

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BZ400A/B ALT (Form 2400A/B ALT) (12/15)

 

a/Priesumption of Undue Hardship

n No Presum tion of Undue Hardshi
P P
(Check box as directed in Part D: Debtor’s Statement
in Support of Reaffirmation Agi'eement.)

 

 

 

UNITED STATES BANKRUPTCY COURT
Eastern District of New York (Central Islip)

ln re Thomas Shin Case No. 17-76988
Debtor Chapter: 07

 

REAFFIRMATION AGREEMENT
[Indicate all documents included in this]?ling by checking each applicable box.]

L_-i Part A: Disclosures, lnstructions, and n Part D: Debtor’S Statement in
Notice to Debtor (pagcs l - 5) Support of Reaffirmation Agrcement
Part B: Reaft`irmation Agreement n Part E: l\/Iotion for Coui“t Approval

m Part C: Cei“rit`ication by Debtor’S Attorney

[Note: Complete Parl E only if debtor was nor represented by an attorney during
the course o/`ncgoi‘iating this agreement Notc also: ]f you complete Pari E, you must
prepare and/ila Form 2400€ ALT- Order on Reaffrmation Agrcemcni.]

Name of Creditor: Bank of America, N.A.

m [Check this box ij] Creditor is a Credit Union as defined in §l9(b)(l)(a)(iv) of the
Federal Reserve Act

PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO DEBTOR
1. DISCL()SURE STATEMENT
Bcfore Agrceing to Reuffirm a Debt, Review T hese Important Disclosures:

SUMMARY OF REAFFIRMATION AGREEMENT
This Summary is made pursuant to the requirements of the Banki'uptcy Code.

AMOUNT REAFFIRMED
The amount of debt you have agreed to reaftirm: $l5i483.12

T he amount of debt you have agreed to reaffirm includes all fees and costs (ifany) that have
accrued as of the date of this disclosure. Your credit agreement may obligate you to pay additional
amounts which may come due after the date of this disclosure Consult your credit agreement

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ANNUAL PERCENTAGE RATE
[ T he annual percentage rate can be disclosed in different ways, depending on the type ofdebt.]

a. If the debt is an extension of “credit” under an “open end credit plan,” as those terms
are defined in § 103 of the Truth in Lending Act, such as a credit card, the creditor may disclose
the annual percentage rate shown in (i) below or, to the extent this rate is not readily available or
not applicable, the simple interest rate shown in (ii) belovv, or both.

(i) The Annual Percentage Rate disclosed, or that Would have been disclosed, to
the debtor in the most recent periodic statement prior to entering into the
reaffirmation agreement described in Part B below or, if no such periodic
statement Was given to the debtor during the prior six months, the annual
percentage rate as it vvould have been so disclosed at the time of the disclosure
statement: %.

-~- And/Or ~~-

(ii) The simple interest rate applicable to the amount reaffirmed as of the date
this disclosure statement is given to the debtor: %. lf different

simple interest rates apply to different balances included in the amount
reaffirmed, the amount of each balance and the rate applicable to it are:

$ @ %;
$ @ %;
$ @ %.

 

b. lf the debt is an extension of credit other than under than an open end credit plan, the
creditor may disclose the annual percentage rate shown in (I) belovv, or, to the extent this rate is
not readily available or not applicable, the simple interest rate shown in (ii) below, or both.

(i) The Annual Percentage Rate under §lZS(a)(4) of the Truth in Lending Act, as disclosed
to the debtor in the most recent disclosure statement given to the debtor prior to entering
into the reaffirmation agreement With respect to the debt or, if no such disclosure statement

Was given to the debtor, the annual percentage rate as it vvould have been so disclosed:
4.49%.

-~- And/Or -~-

(ii) The simple interest rate applicable to the amount reaffirmed as of the date
this disclosure statement is given to the debtor: %. lf different

simple interest rates apply to different balances included in the amount
reaffirrned, the amount of each balance and the rate applicable to it are:

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3 @ %;
55 @ %;
55 @ %.

c. If the underlying debt transaction was disclosed as a variable rate transaction on the
most recent disclosure given under the Truth in Lending Act:

The interest rate on your loan may be a variable interest rate which changes from
time to time, so that the annual percentage rate disclosed here may be higher or
lower.

d. If the reaffirmed debt is secured by a security interest or lien, which has not been
waived or determined to be void by a final order of the court, the following items or types of
items of the debtor’s goods or property remain subject to such security interest or lien in
connection with the debt or debts being reaffirmed in the reaffirmation agreement described in
Part B.

 

item or Type of Item Original Purchase Price or Original Amount of Loan
20l 5 AUDl A4 #5715 $20,196.00

OQtional---At the election of the creditor, a repayment schedule using one or a combination of
the following may be provided:

Repayment Schedule:

Your first payment in the amount of $376.42 is due on December 14, 2017 but the future payment amount
may be different Consult your reaffirmation agreement or credit agreement, as applicable.

_ Or_

Your payment schedule will be: 46 payments in the amount of: $376.42 each, payable (monthly, annually,
weekly, etc.) on the 14th (day) of each l\/Ionth (week, month, etc.), unless altered later by mutual
agreement in writing

_Qr_

A reasonably specific description of the debtor’s repayment obligations to the extent known by
the creditor or creditor’s representative

2. INSTRUCTIONS AND NOTICE T() DEBTOR

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Reaffirming a debt is a serious financial decision. The law requires you to take certain
steps to make sure the decision is in your best interest If these steps are not completed, the
reaffirmation agreement is not effective, even though you have signed it.

l. Read the disclosures in this Part A carefully. Consider the decision to reaffirm
carefully. Then, if you want to reaffirm, sign the reaffirmation agreement in Part B (or you may
use a separate agreement you and your creditor agree on).

2. Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and
signed reaffirmation agreement

3. lf you were represented by an attorney during the negotiation of your reaffirmation
agreement, the attorney must have signed the certification in Part C.

4. If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, you must have completed and signed Part E.

5. The original ofthis disclosure must be filed with the court by you or your creditor. lfa
separate reaffirmation agreement (other than the one in Part B) has been signed, it must be
attached.

6. lf the creditor is not a Credit Union and you were represented by an attorney during
the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes effective
upon filing with the court unless the reaffirmation is presumed to be an undue hardship as
explained in Part D. Ifthe creditor is a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes
effective upon filing with the court.

 

 

7. If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it, The court will notify you and the
creditor of the hearing on your reaffirmation agreement You must attend this hearing in
bankruptcy court where the judge will review your reaffirmation agreement The bankruptcy
court must approve your reaffirmation agreement as consistent with your best interests, except
that no court approval is required if your reaffirmation agreement is for a consumer debt secured
by a mortgage, deed of trust, security deed, or other lien on your real property, like your home.

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YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the
bankruptcy court enters a discharge order, or before the expiration of the 60-day period that
begins on the date your reaffirmation agreement is filed with the court, whichever occurs later.
To rescind (cancel) your reaffirmation agreement, you must notify the creditor that your
reaffirmation agreement is rescinded (or canceled).

Frequently Asked Questions:

What are your obligations if you reaffirm the debt? A reaffirmed debt remains your
personal legal obligation lt is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to
take your property or your wages. Otherwise, your obligations will be determined by the
reaffirmation agreement which may have changed the terms of the original agreement For
example, if you are reaffirming an open end credit agreement, the creditor may be permitted by
that agreement or applicable law to change the terms of that agreement in the future under
certain conditions

Are you required to enter into a reaffirmation agreement by any law? No, you are not
required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest
Be sure you can afford the payments you agree to make.

What if your creditor has a security interest or lien‘? Your bankruptcy discharge does not
eliminate any lien on your property. A “lien” is often referred to as a security interest, deed of
trust, mortgage or security deed. Even if you do not reaffirm and your personal liability on the
debt is discharged, because of the lien your creditor may still have the right to take the property
securing the lien if you do not pay the debt or default on it. Ifthe lien is on an item of personal
property that is exempt under your State’s law or that the trustee has abandoned, you may be
able to redeem the item rather than reaffirm the debt To redeem, you must make a single
payment to the creditor equal to the amount of the allowed secured claim, as agreed by the
parties or determined by the court

NOTE: When this disclosure refers to what a creditor “rnay” do, it does not use
the word “may” to give the creditor specific permission The word “may” is
used to tell you what might occur if the law permits the creditor to take the action.
If you have questions about your reaffirming a debt or what the law requires,
consult with the attorney who helped you negotiate this agreement reaffirming a
debt. If you don’t have an attorney helping you, the judge will explain the effect
of your reaffirming a debt when the hearing on the reaffirmation agreement is
held.

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PART B: REAFFIRMATION AGREEMENT.

l (we) agree to reaffirm the debts arising under the credit agreement described below.

l. Brief description of credit agreement

Note executed On October lS, 2016 for 2015 AUDi A4 #5715.

2. Description of any changes to the credit agreement made as part of this reaffirmation
agreement

SIGNATURE§ S}:

 

 

Borrower: Accepted by creditor:
"'"("\,`om mg gm q Bank ofAmerica, N.A.
(Print Name (Printed Name of Creditor)

Attn: Reaffirmation Department
16001 N. Dallas Pkwy
Addison, TX 7500]

_ 1_ j _ Mail Stop: TX8-044-02-02

(Signature)

 

 

Date: k '?/z

Co-borrower, if also reaffirming these debts:

 

(Printed Narne and Tit[e of Individual
(Print Name) Signing for Creditor)

 

 

(Signature) Date of creditor acceptance:

Date: 11i16t2017

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PART C: CERTIFICATI()N BY DEBTOR’S ATTORNEY (IF ANY).

[To be filed only if the attorney represented the debtor during the course of negotiating
this agreement ]

l hereby certify that (l) this agreement represents a fully informed and voluntary
agreement by the debtor; (2) this agreement does not impose an undue hardship on the debtor or
any dependent of the debtor; and (3) l have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement

[Check box, if applicable and the creditor is not a Credit Union.] A presumption of

undue hardship has been established with respect to this agreement In my opinion, however, the
debtor is able to make the required payment

Printed Narne of Debtor’s Attorney: §e\r\ v-) i'l w »/\ 5l/\ /` \/`\

Signature of Debtor’s Attorney: A</”%/
Date: ll )“)’/ ig

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PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

[Read and complete sections ] and 2, Q£ if the creditor is a Credit Union and
the debtor is represented by an attorney, read section 3. Sign the appropriate
signature line(s) and date your signature. lf you complete sections 1 and 2
ring your income less monthly expenses does not leave enough to make the
payments under this rea]j?rmation agreementy check the box at the top of page
l indicating “Presumption of Undue Hardship. ” Otherwise, check the box at
the top of page l indicating "No Presumption of Undue Hardship”]

l. l believe this reaffirmation agreement will not impose an undue hardship on my
dependents or me. l can afford to make the payments on the reaffirmed debt because my
monthly income (take home pay plus any other income received) is $ Ul/ 660 , and my actual

current monthly expenses including monthly payments on post-bankruptcy debt and other
reaffirmation agreements total $ il 'i,\z_~\y/, leaving $l '1, g 45 jzlto make the required payments
on this reaffirmed debt

l understand that if my income less my monthly expenses does not leave enough to
make the payments, this reaffirmation agreement is presumed to be an undue hardship on me
and must be reviewed by the court However, this presumption may be overcome if l explain
to the satisfaction of the court how l can afford to make the payments here: /'cv\i\m\a~\l;vv >`

\/7~/\ fv/\\/v\ild\ \ra/\%v“\//"/`),
y d

 

(Use an additional page if needed for a full explanation.)

2. I received a copy ofthe Reaffirmation Disclosure Statement in Part A and a
completed and signed reaffirmation agreement

Signed: /D am Qé:-`

(Debtor)

 

 

(Joint Debtor, if any)
Date: \[ '?,'2.,[ f §>-
_ Or _

[Ifthe creditor is a Credit Union and the debtor is represented by an attorney]
3. l believe this reaffirmation agreement is in my financial interest l can afford to
make the payments on the reaffirmed debt l received a copy of the Reaffirmation Disclosure

Statement in Part A and a completed and signed reaffirmation agreement

Signed:

 

(Debtor)

 

(Joint Debtor, if any)
Date:

